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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION


ALTAMAHA   RIVERKEEPER;  ONE             *
HUNDRED MILES; CENTER FOR A              *
SUSTAINABLE      COAST,     INC;   and   *
SURFRIDER FOUNDATION,                    *
                                         *


     Plaintiffs,                         *
                                         ★


            V.                           *             CV 418-251
                                         *


THE UNITED STATES ARMY CORPS OF          *
ENGINEERS; Lieutenant General *
TODD   T.  SEMONITE,  in  His *
Official Capacity as Commanding *
General of the U.S. Army Corps *
of Engineers; Colonel DANIEL *
HIBNER,   in    His   Official *
Capacity as District Commander *
of the Savannah District; and *
TUNIS MCELWAIN, in His Official *
Capacity   as  Chief   of the *
Regulatory Branch of the U.S. *
Army Corps of Engineers,      *
                                         *


     Defendants,                         *
                                         *


SEA ISLAND ACQUISITION, LLC,             *
                                         *


      Defendant-Intervenor.              *




                                   ORDER




     Before the Court is the Consent Motion to Amend the Scheduling

Order.    (Doc. 50.)      On February 27, 2019, this Court granted the

Parties' Joint Motion to Vacate and Stipulation for Scheduling

(Doc. 42) setting the Parties' deadlines as stipulated in the

motion.    (Doc. 45.)     Plaintiffs Altamaha Riverkeeper, One Hundred

Miles,    and   Surfrider    Foundation      and   Defendant-Intervenor   Sea
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Island   Acquisition,    LLC request a    sixty-day extension of        the

briefing schedule.      Defendants consent to and Plaintiff Center for

a Sustainable   Coast does not oppose       the extension.      Upon due

consideration, the Court GRANTS the motion (Doc. 50) and sets the

deadlines as stipulated in the motion (Doc. 50, at 3).

     ORDER ENTERED at Augusta, Georgia, this                 day of May,

2019.




                                  J.VRANpAl^ALL,/'CHIEF JUDGE
                                  UNirfflSTATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
